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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                           Case No. 2:20-CR-00052-DCN
            Plaintiff,
                                           STIPULATION FOR SETTLEMENT OF
      vs.                                  THIRD-PARTY CLAIMS TO REAL
                                           PROPERTY SUBJECT TO
TRINA MARIE WELCH,                         FORFEITURE AND FOR FINAL
                                           ORDER OF FORFEITURE
            Defendant                      REGARDING SPECIFIC PROPERTY,
                                           501 E WALNUT
      and

JENNA ARTHUN, NICK ARTHUN,

            Petitioners in the Ancillary
             Proceeding.




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        This Stipulation is presented to the Court to resolve part of the forfeiture ancillary

proceeding in this criminal case, concerning a specific real property, and two claims filed to that

property. As further described below, the parties stipulate and request that the Court enter a

Final Order of Forfeiture, that the real property be sold by the United States Marshals Service,

and that the net proceeds be distributed as agreed.

        Applicable Law and the Court’s Authority

        The Court’s forfeiture authority originates from 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.

§ 2461(c) which provides that, when imposing sentence on any person convicted of a violation of

18 U.S.C. § 1343, wire fraud, the Court shall order that the person forfeit to the United States

any property, real or personal, which constitutes or is derived from proceeds traceable to the

commission of the offense.

        The forfeiture ancillary proceeding is designed to adjudicate the rights of uncharged third

parties who assert an interest in property forfeited from a criminal defendant. See generally 21

U.S.C. § 853(n), applicable pursuant to 28 U.S.C. § 2461(c); Fed. R. Crim. P. 32.2(c). Section

853(n) of the Controlled Substances Act provides a procedural framework for most criminal

forfeiture and requires that third parties file a petition setting forth their interest. 21 U.S.C. §

853(n)(2). A petitioner must establish by a preponderance of the evidence one of two

recognizable interests in the property forfeited from the defendant, either a prior interest that was

vested at the time of the commission of the crime, or an interest as a subsequent bona fide

purchaser for value without knowledge that the property was subject to forfeiture. Id. at §

853(n)(6)(A) and (B). “At the end of the ancillary proceeding, the court must enter a final order

of forfeiture by amending the preliminary order as necessary to account for any third-party

rights.” Fed. R. Crim. P. 32.2(c)(2). The criminal defendant may not object to the final order of

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forfeiture because the defendant’s rights were forfeited by the preliminary order. Fed. R. Crim

P. 32.2(b)(4)(A) and (c)(2). In this Stipulation, the parties seek a final order of forfeiture

recognizing some interest of two petitioners claiming interest in a specific real property.

       The Subject Property

       This Stipulation concerns the following property identified for forfeiture with legal

descriptions in the Indictment and in Defendant’s Plea Agreement, which will be referred to

herein as “501 E Walnut”: 501 E Walnut Avenue, Osburn, Shoshone County, Idaho, parcel

number OCC00500370110A. (Indictment, ECF No. 1; Plea Agreement, ECF No. 45 at 8.)

Record owners are Nickolas R. Arthun and Jenna G. Arthun by Quitclaim deed recorded August

2, 2017, instrument 490219, describing the property as:




       Preliminary Order of Forfeiture, Notice, and Filed Claims

       The Court already forfeited the interests of criminal Defendant Trina Welch in several

real properties including 501 E Walnut. (Preliminary Order of Forfeiture, ECF No. 52.)

Defendant’s Plea Agreement establishes a sufficient factual nexus, under the applicable statutes

mentioned above, for forfeiture of fraud proceeds in 501 E Walnut. (ECF No. 45.)

       The United States caused notice of the above-referenced forfeiture order to be published

and sent in accordance with the requirements of Federal Rule of Criminal Procedure

32.2(b)(6)(A). This included publication on an official government internet site

(www.forfeiture.gov). The United State filed notice of service by publication. (ECF Nos. 58, 58-

1.) See Criminal Rule 32.2(b)(6)(C) and Rule G(4)(a)(iv)(C) of the Supplemental Rules for

Admiralty and Maritime Claims and Asset Forfeiture Actions.

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       Jenna and Nick Arthun (“Petitioners”) filed separate petitions claiming an interest in 501

E. Walnut. (ECF Nos. 56, 59.) Neither Petitioner indicated that they were represented by

counsel. Both Petitioners understand that they may hire and consult with an attorney at any time

and that the Assistant United States Attorneys, federal agents, and other representatives of the

government represent and advocate for the interests of the United States and cannot provide legal

advice to Petitioners.

       Jenna’s petition described the property as below. Jenna primarily claimed that she and

Nick paid costs of construction of $70,000, completed “finish work” on the residence, and that

Jenna acted as general contractor. Jenna states that she and Nick were unaware of Trina Welch’s

illegally obtained funds. (ECF No. 56.)




       Nick’s petition described the property as below. The primary financial evidence he

provided was that he won $200,000 in the lottery in 2016. (ECF No. 59.)




       The Preliminary Order of Forfeiture describes the property as:




       Petitioners acknowledge that that the property descriptions vary in their petitions, the

Indictment, and other documents in this case. Nevertheless, this Stipulation applies to all of



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Petitioners’ interest in the property generally described as 501 E Walnut, Osburn, ID, regardless

of any variations in description.

       Evidence of Fraud Proceeds Traced to 501 E Walnut

       The United States traced proceeds of Trina Welch’s fraud scheme into 501 E. Walnut and

calculated Petitioners’ interest, resulting in the following summary.




       The parties agree that Defendant directed traceable fraud proceeds of $233,675, or 81%

of the value to 501 E Walnut and that Nick and Jenna Arthun contributed $55,437, or 19% of the

value to the property. Documents supporting this calculation are available to Petitioners from

the United States Attorney’s Office.

       The Agreement and Waivers

       The parties agree to request through this stipulation that the Court enter a Final Order of

Forfeiture that orders and recognizes the following:



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       The Court will enter a Final Order of Forfeiture (FOF) forfeiting to the United States of

America all interest in 501 E Walnut such that the United States may sell 501 E Walnut.

       The Final Order of Forfeiture will recognize Petitioners’ 19% interest in 501 E Walnut

and direct that the United States will pay, or cause to be paid, to Petitioners, 19% of net sale

proceeds.

       This Stipulation is the result of a compromise and settlement, and not intended to reflect

any admission of criminal conduct or culpability on the part of any individual. The United States

does not assert, based upon known evidence, that either Petitioner had any criminal culpability in

the Defendant’s fraud scheme.

       Petitioners understand that net proceeds will be after costs of sale, which could include,

but are not limited to, costs incurred by the United States Marshals Services, its contractors, and

real estate agents, such as relator fees, advertising, maintenance, inspection, remediation,

improvements, taxes owed, prior unpaid mortgages, etc. There is no promise, guarantee, or

representation as to the amount of net proceeds, which will be subject to many unpredictable

factors including market fluctuation.

       Petitioners understand that any payment to either of them may be offset pursuant to the

Treasury Offset Program (“TOP”), which may offset for TOP-recognized debts such as back

taxes or child support. The following notice applies:

       NOTICE: Federal law requires the Department of the Treasury and other disbursing
       official to offset Federal payments to collect delinquent tax and non-tax debts owed to the
       United States, and to individual states (including past-due child support). If an offset is
       made to the payment to be made pursuant to this agreement, Petitioners will receive a
       notification from the Department of the Treasury at the last address provided by
       Petitioners to the governmental agency or entity to whom the offset payment is made. If
       Petitioners believe that the payment may be subject to an offset, Petitioners may contact
       the Treasury Department at 1-800-304-3107. The terms of this settlement do not affect
       the tax obligations, fines, penalties, or any other monetary obligations the Petitioners owe
       to the United States or an individual state.
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        Petitioners understand that the 19% of net proceeds will be divided evenly and paid

individually to the benefit of each Petitioner – i.e., 9.5% each. The United States makes no

promises or representations regarding the effect, or recognition, in federal court, of any state

court proceedings, including divorce decrees, To the extent that Petitioners agree on a different

allocation of the 19% of net proceeds, they may, 14 days prior to closing, file a stipulation in

federal court in this case reflecting that agreement, which stipulation the United States will

consider.

        Petitioners agree to cooperate fully in the listing, marketing, and sale of 501 E Walnut,

including by making the property available and accessible, signing documents, and participating

in the closing process.

        Petitioners agree to unconditionally release and hold harmless the United States

government and its agents and contractors from any and all claims, demands, damages, causes of

action or suits, of whatever kind and description, and wheresoever situated, that might now exist

or hereafter exist by reason of or growing out of or affecting, directly or indirectly, the seizure,

restraint, custody, release, return, settlement or forfeiture of 501 E Walnut or any other property

forfeited from the Defendant in this case, said release includes the Department of Justice, the

United States Attorney’s Office for the District of Idaho, the FBI, and any other involved federal,

state, or local agency, including any officers, employees, contractors, and agents thereof.

        The United States had reasonable cause for the commencement of this action, and for the

seizure of the res and forfeiture of the assets herein, and the parties stipulate to the entry of a

certificate of reasonable cause according to 28 U.S.C. § 2465 as part of the Final Order of

Forfeiture.




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